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 1   ROB BONTA
     Attorney General of California
 2   NICKLAS A. AKERS (SBN 211222)
     Senior Assistant Attorney General
 3   BERNARD A. ESKANDARI (SBN 244395)
     Supervising Deputy Attorney General
 4   JOSHUA OLSZEWSKI-JUBELIRER (SBN 336428)
     MEGAN O’NEILL (SBN 343535)
 5   MARISSA ROY (SBN 318773)
     Deputy Attorneys General
 6    455 Golden State Ave., Suite 11000
      San Francisco, CA 94102-7004
 7    Telephone: (415) 510-4400
      Fax: (415) 703-5480
 8    E-mail: Marissa.Roy@doj.ca.gov
     Attorneys for The People of the State of California
 9
     Additional parties and counsel listed on signature
10   pages
11
                             IN THE UNITED STATES DISTRICT COURT
12
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
13
                                          OAKLAND DIVISION
14

15
                                                       MDL No. 3047
16
     IN RE: SOCIAL MEDIA ADOLESCENT                    Case No. 4:22-md-03047-YGR
17   ADDICTION/PERSONAL INJURY
     PRODUCTS LIABILITY LITIGATION                        STATES’ RESPONSE TO PRO SE
18                                                        MOTION TO INTERVENE
     THIS DOCUMENT RELATES TO:
19
     Case No. 4:23-cv-05448-YGR                           Judge: Hon. Yvonne Gonzalez Rogers
20                                                        Action Filed: 10/24/2023
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 1                                            INTRODUCTION
 2          Texas resident Conghua Yan’s pro se motion to intervene constitutes an improper attempt
 3   to insert private claims for individual relief into a public enforcement action brought by 33 state
 4   attorneys general (the States). 1 The States have exercised their sovereign authority to bring this
 5   multistate, civil enforcement action against Meta. This enforcement action includes claims
 6   entirely distinct from those available to private plaintiffs: the States seek to vindicate public
 7   rights, which the States are uniquely tasked to protect, and to obtain relief for the public rather
 8   than private individuals. While private claims may proceed in parallel to this public law
 9   enforcement action in separate suits—and, indeed, scores of private suits are proceeding in multi-
10   district litigation currently before this Court—a motion to intervene should not conflate a public
11   enforcement action with a private claim.
12          The Federal Rules of Civil Procedure and this Circuit’s precedents do not allow Yan to
13   intervene in the States’ public enforcement action. The States’ enforcement action involves
14   interests separate from—and not derivative of—the interests of any private individual, including
15   Yan. The States’ pursuit of this separate public enforcement action does not impact Yan’s ability
16   to seek relief for individualized harms. And Yan’s claims do not share common questions of law
17   or fact with the States’ claims, particularly because Yan’s claims are predicated on alleged
18   violations of the Racketeer Influenced and Corrupt Organizations (RICO) Act, which none of the
19   States invoke. Thus, not only is there no basis to grant Yan’s motion to intervene, but allowing
20   intervention by a private claimant would fundamentally disrupt the States’ authority to vindicate
21   public rights.
22

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24          1
              The States include State of Arizona, the People of the State of California, State of
     Colorado, State of Connecticut, State of Delaware, State of Georgia, State of Hawai‘i, State of
25   Idaho, the People of the State of Illinois, State of Indiana, State of Kansas, Commonwealth of
     Kentucky, State of Louisiana, State of Maine, Office of the Attorney General of Maryland, State
26   of Michigan, State of Minnesota, State of Missouri, State of Nebraska, State New Jersey and New
     Jersey Division of Consumer Affairs, the People of the State of New York, State of North
27   Carolina, State of North Dakota, State of Ohio, State of Oregon, Commonwealth of Pennsylvania,
     State of Rhode Island, State of South Carolina, State of South Dakota, Commonwealth of
28   Virginia, State of Washington, State of West Virginia, and State of Wisconsin.
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 1                                                 ARGUMENT
 2   I.       YAN HAS NO MANDATORY RIGHT TO INTERVENE IN THE STATES’ PUBLIC
              ENFORCEMENT ACTION.
 3

 4            Yan cannot establish a mandatory right to intervention under the Federal Rules of Civil

 5   Procedure. Rule 24(a) provides a right to intervene to anyone who is “given an unconditional

 6   right to intervene by federal statute” or, alternatively, anyone who has (1) “an interest relating to

 7   the property or transaction that is the subject of the action” that (2) would be “impair[ed] or

 8   impede[d]” if the person was not permitted to intervene and (3) could not be “adequately

 9   represent[ed]” by the parties. Fed. R. Civ. P. 24(a)(1)-(2). Yan does not provide any legal

10   authority that provides an unconditional right to intervene in the States’ law enforcement action,

11   and Yan has not demonstrated any of the three factors that would alternatively give rise to such a

12   right.

13            A.    Yan Has No Significantly Protectable Interest that Gives Rise to a Right of
                    Intervention Under Rule 24(a).
14

15             Yan has failed to state an interest in the States’ enforcement action that is sufficient to

16   give rise to a right of intervention. To justify mandatory intervention, a proposed intervenor must

17   demonstrate a “significantly protectable interest” in the property or transaction that is the subject

18   of the underlying action. Donaldson v. United States, 400 U.S. 517, 531 (1971). “[A]t an

19   irreducible minimum Rule 24(a)(2) requires that the asserted interest be ‘protectable under some

20   law’ and that there exist ‘a relationship between the legally protected interest and the claims at

21   issue[.]’” Cal. Dep’t of Toxic Substances Control v. Jim Dobbas, Inc., 54 F.4th 1078, 1088 (9th

22   Cir. 2022) (citation omitted). A relationship exists “only if the resolution of the plaintiff’s claims

23   actually will affect the [proposed intervenor].” Donnelly v. Glickman, 159 F.3d 405, 410 (9th Cir.

24   1998) (citations omitted). Accordingly, where the resolution of an action would affect the

25   proposed intervenor’s interest in real property, see e.g., Arakaki v. Cayetano, 324 F.3d 1078 (9th

26   Cir. 2003), or impose direct economic consequences on the proposed intervenor, see, e.g., United

27   State v. Aerojet General Corp., 606 F.3d 1142 (9th Cir. 2010), the interest is significantly

28   protectable.
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 1          By contrast, a more generalized interest in the underlying action or an interest that is
 2   several degrees removed from the disposition of the underlying action cannot sustain a right of
 3   intervention. See, e.g., United States v. Alisal Water Corp., 370 F.3d 915, 919-20 (9th Cir. 2004)
 4   (denying a creditor’s motion to intervene in an environmental enforcement action that might
 5   impair the creditor’s ability to collect a debt because “[t]his interest is several degrees removed
 6   from the overriding public . . . policies that are the backbone of this litigation”); Westlands Water
 7   Dist. v. United States, 700 F.2d 561, 563 (9th Cir. 1983) (denying a nonprofit’s motion to
 8   intervene in a contract dispute between a water district and the federal government because the
 9   nonprofit’s interest was not based on the underlying contracts but rather “enlightened public
10   policy”). Particularly in public enforcement actions, a substantial portion of the population may
11   have a generalized interest in the litigation and its outcome, but that generalized interest does not
12   give rise to a right of intervention. See, e.g., People v. Tahoe Reg’l Planning Agency, 792 F.2d
13   779, 780-82 (9th Cir. 1986).
14         Here, the States have brought a public enforcement action entirely distinct from any
15   protectable interest Yan may have. A civil action brought by governmental entities for unfair or
16   deceptive acts or practices is “a law enforcement action designed to protect the public and not to
17   benefit private parties.” City & Cnty. of San Francisco v. PG & E Corp., 433 F.3d 1115, 1125-26
18   (9th Cir. 2006) (quoting People v. Pac. Land Rsch. Co., 569 P.2d 125, 129 (Cal. 1977)); see also,
19   e.g., Rhino Linings USA, Inc. v. Rocky Mountain Rhino Lining, Inc., 62 P.3d 142, 149 (Colo.
20   2003) (holding that if a wrong is private in nature and does not affect the public, the claim is not
21   actionable under the Colorado Consumer Protection Act); Quattrocchi v. Georgia, 850 S.E.2d
22   432, 436 (Ga. App. 2020) (holding that under the Georgia Fair Business Practices Act, although
23   the State may seek restitution, an action by the State does not seek damages to remedy private
24   wrongs).
25         The States’ action is “fundamentally different from a class action or other representative
26   litigation.” Payne v. Nat’l Collection Sys., Inc., 91 Cal. App. 4th 1037, 1045 (2001); see also, e.g.,
27   Tiismann v. Linda Martin Homes Corp., 637 S.E.2d 14, 17 (Ga. 2006) (distinguishing the
28   elements of a private consumer protection action from those applicable to a State action). The
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 1   States’ interests and right to pursue this action “is separate from, and not derivative of” that of
 2   private plaintiffs. City & Cnty. of San Francisco, 433 F.3d at 1127; see also, e.g., State ex rel.
 3   Edmisten v. Challenge, Inc., 284 S.E.2d 333, 339 (N.C. Ct. App. 1981) (noting that public
 4   enforcement of the North Carolina Unfair or Deceptive Trade Practices Act is intended to
 5   advance the public interest “rather than to redress individual grievances”); Lightfoot v.
 6   MacDonald, 544 P.2d 88, 90 (Wash. 1976) (recognizing the Attorney General’s ability to bring a
 7   consumer protection action for the benefit of the public and noting, “[t]he Attorney General’s
 8   responsibility in bringing cases of this kind is to protect the public from the kinds of business
 9   practices which are prohibited by the statute; it is not to seek redress for private individuals”
10   (quoting Seaboard Sur. Co. v. Ralph Williams’ Nw. Chrysler Plymouth, Inc., 504 P.2d 1139, 1143
11   (Wash. 1973))).
12         Yan’s individual interests bear no relationship to the public interests represented by the
13   States. The States’ public enforcement action does not involve real property that Yan has a claim
14   to, contracts Yan is party to, or Yan’s economic interests. Nor does the disposition of this
15   litigation affect Yan’s ability to vindicate private claims to redress the harm Yan personally
16   suffered on Meta’s Platforms.
17         At most, Yan has expressed a generalized interest in halting Meta’s misconduct—an
18   interest many members of the public share. Such generalized interest in the States’ public
19   enforcement action is insufficient to support mandatory intervention. See, e.g., Tahoe Reg’l
20   Planning Agency, 792 F.2d at 780-82 (denying property owners’ motion to intervene in an
21   enforcement action by the state of California challenging a regional environmental plan because
22   the plan’s effects on proposed intervenors’ property were “incidental” and their interest was the
23   generalized interest shared by many members of the public). For this reason alone, Yan’s motion
24   for mandatory intervention must be denied.
25         B.    The States’ Public Enforcement Action Does Not Impact Yan’s Claims
                 Because Yan Can File a Separate Action Like the Other Private Plaintiffs.
26

27         The States’ public enforcement action has no impact on Yan’s interests. Individual interests
28   are not impeded or impaired by a pending action when they can be “raise[d] . . . through a
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 1   separate lawsuit[.]” Warren v. Comm’r of Internal Revenue, 302 F.3d 1012, 1015 (9th Cir. 2002).
 2   Particularly with regard to public enforcement actions, courts have held that an individual’s
 3   interests are not impaired or impeded where the proposed intervenor can pursue a claim
 4   independently from the government. See, e.g., Equal Emp’t Opportunity Comm’n v. E. Airlines,
 5   Inc., 736 F.3d 635, 638-39 (11th Cir. 1984) (denying a motion to intervene for one of the nineteen
 6   individuals whose age discrimination claims served as the basis for a public enforcement action
 7   brought by the Equal Employment Opportunity Commission because that individual could seek
 8   personal relief in a separate lawsuit). Even if the disposition of a pending action will create
 9   relevant precedent, that precedent must have a direct and practical effect on the proposed
10   intervenor to justify mandatory intervention. See Greene v. United States, 996 F.3d 973, 977-78
11   (9th Cir. 1993).
12         Here, the States’ public enforcement action is separate and distinct from a private action. As
13   a public enforcement action, the States’ case “lacks the fundamental attributes of a consumer
14   class action filed by a private party.” Pac. Land Rsch. Co., 569 P.2d at 129; see also, e.g., Hall v.
15   Walter, 969 P.2d 224, 234-35 (Colo. 1998) (holding that private causes of action under the
16   Colorado Consumer Protection Act are distinct from public enforcement); Tiismann, 637 S.E.2d
17   at 17 (distinguishing between the elements of private and public actions under the Georgia Fair
18   Business Practices Act). Accordingly, “traditional res judicata principles have no application to a
19   judgment resulting from [public enforcement action for unfair or deceptive acts or practices] filed
20   by the Attorney General or another public prosecutor in a subsequent lawsuit brought by a victim
21   of improper business practices.” Payne, 91 Cal. App. 4th at 1047 (citation omitted).
22         Yan can thus vindicate any individual interests by initiating a separate action in state court
23   or by filing into the multi-district litigation alongside over 100 other actions, the majority of
24   which were filed by private parties. Under either option, there will be no res judicata impact from
25   the States’ enforcement action. Furthermore, any precedent created by the States’ claims would
26   not affect Yan’s case because the underlying factual and legal basis for Yan’s claims are also
27   distinct from the States’: Yan seeks to claim a violation of the RICO Act stemming from obscene
28   third-party advertising on Meta’s platforms. Mot. at 1, 4. The States bring enforcement claims
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 1   under the Children’s Online Privacy Protection Act of 1998 (COPPA) 2 and state consumer
 2   protection statutes that stem from Meta’s unfair and deceptive business practices, unrelated to the
 3   content of third-party advertisements.
 4         Since Yan’s individual interests can be fully vindicated apart and with no practical impact
 5   from the States’ enforcement action, there is no impairment that justifies mandatory intervention.
 6         C.    The States Best Represent Public Interests.
 7         To the extent Yan has a generalized interest in the public rights that the States seek to
 8   vindicate, the States are best situated to represent that interest. When the government is
 9   representing the public, there is an “assumption of adequacy.” Arakaki, 324 F.3d at 1086. Thus,
10   the proposed intervenor must make a “very compelling showing” that the government cannot
11   adequately represent public rights. Oakland Bulk & Oversized Terminal, LLC v. City of Oakland,
12   960 F.3d 603, 620 (9th Cir. 2020). Yan makes no showing, nor could Yan. There is no question
13   that the States are best situated to seek redress for Meta’s deceptive and unlawful conduct on
14   behalf of the public. In sum, there is no basis for mandatory intervention.
15   II.   YAN HAS NO BASIS TO PERMISSIVELY INTERVENE IN THE STATES’ PUBLIC
           ENFORCEMENT ACTION.
16

17         In the absence of grounds for intervention by right, Rule 24(b) allows the court discretion to
18   permit intervention to anyone who “is given a conditional right to intervene by a federal statute”
19   or who “has a claim or defense that shares with the main action a common question of law or
20   fact.” Fed. R. Civ. P. 24(b)(1)(A)-(B). Yan can make neither showing.
21          As an initial matter, Yan does not identify a federal statute that provides a conditional
22   right to intervene, and the States are unaware of one. Moreover, as discussed, Yan’s motion
23   appears to raise questions of law and fact that are fundamentally different from those raised by
24   the States. 3 Yan seeks to insert a RICO claim into this public law enforcement action—a legal
25          2
             Because “COPPA does not authorize a private right of action,” Jones v. Google LLC, 73
     F.4th 636, 641 (9th Cir. 2023), Yan could not even bring a standalone COPPA claim.
26
            3
              Yan’s motion does not comply with Rule 24(c) because it is not “accompanied by a
27   pleading that sets out the claim . . . for which intervention is sought.” Nor does it adopt a pleading
     by reference, which may cure this deficiency. Regardless, Yan’s motion fails despite any “purely
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 1   theory advanced by none of the States. And Yan’s proposed legal theory factually appears to
 2   derive exclusively from the content published on Meta’s platforms (the alleged obscene materials
 3   “in the form of sponsored advertisements”). Mot. at 1. Whereas, in summary, the States allege
 4   misconduct stemming from Meta’s (1) collection of data from users under thirteen years old
 5   without required parental notification and consent; (2) misrepresentations surrounding the safety
 6   of its social media platforms; and (3) the deceptive and unfair constellation of features that
 7   prolong engagement and lead to youth addiction.
 8         It would be infeasible to litigate such distinct factual issues and private legal theories in the
 9   same public enforcement action brought by the States. And it is unnecessary to try to do so,
10   especially when Yan has other means to pursue private litigation in either state court or alongside
11   numerous other private claimants in the multi-district litigation. Furthermore, allowing a private
12   claimant to intervene and exercise any influence or control over a public enforcement action
13   would impede the States’ ability and sovereign authority to vindicate the public interest. These
14   significant differences underscore why permissive intervention should also be denied.
15                                             CONCLUSION
16          For these reasons, the States respectfully request that the Court deny Conghua Yan’s
17   motion to intervene in this public enforcement action.
18

19   Dated: November 15, 2023                                Respectfully submitted,
20

21                                                             /s/ Marissa Roy
22
                                                             Deputy Attorney General
23                                                           California Department of Justice
                                                             Office of the Attorney General
24
                                                             Attorney for Plaintiff the People of the State
25
                                                             of California
26

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     technical” defect. Westchester Fire Ins. Co. v. Mendez, 585 F.3d 1183, 1188 (9th Cir. 2009)
28   (citation omitted).
                                                      7
                                          States’ Response to Pro Se Motion to Intervene (Case No. 4:22-md-03047)
       Case 4:23-cv-05448-YGR Document 67 Filed 11/15/23 Page 9 of 18



 1   KRIS MAYES                                             KATHLEEN JENNINGS
     Attorney General                                       Attorney General
 2   State of Arizona                                       State of Delaware
 3                                                          /s/ Dashiell Raj Radosti
     /s/ Vince Rabago                                       Owen Lefkon
 4   Vince Rabago (AZ No. 015522 CA No.                     Director of Fraud and Consumer Protection
     167033), pro hac vice                                  Marion Quirk, pro hac vice
 5   Chief Counsel - Consumer Protection and                Director of Consumer Protection
     Advocacy Section                                       Dashiell Radosti (DE Bar 7100),
 6   Nathan Whelihan (AZ No. 037560),                       pro hac vice
                                                            Deputy Attorney General,
 7   pro hac vice app. forthcoming, if required             Delaware Department of Justice
     Assistant Attorney General                             820 N. French Street, 5th Floor
 8   Arizona Attorney General’s Office                      Wilmington, DE 19801
     2005 North Central Avenue                              Phone: (302) 683-8800
 9   Phoenix, AZ 85004                                      Dashiell.Radosti@delaware.gov
     Phone: (602) 542-3725
10                                                          Attorneys for Plaintiff State of Delaware
     Fax: (602) 542-4377
11   Vince.Rabago@azag.gov
     Nathan.Whelihan@azag.gov
12                                                          CHRISTOPHER M. CARR
     Attorneys for Plaintiff State of Arizona               Attorney General
13                                                          State of Georgia

14                                                          /s/ Melissa M. Devine
     PHILIP J. WEISER
     Attorney General                                       Melissa M. Devine (GA Bar No. 403670),
15                                                          pro hac vice
     State of Colorado
16                                                          Assistant Attorney General
     _/s/ Bianca E. Miyata___________                       Office of the Attorney General of the State
17   Bianca E. Miyata (CO Reg. No. 42012),                  of Georgia
     pro hac vice                                           2 Martin Luther King Jr. Drive, SE, Ste. 356
18                                                          Atlanta, GA 30334
     Senior Assistant Attorney General
     Lauren M. Dickey (CO Reg. No. 45773)                   Phone: (404) 458-3765
19                                                          Fax: (404) 651-9108
     First Assistant Attorney General
20   Megan Paris Rundlet (CO Reg. No. 27474)                mdevine@law.ga.gov
     Senior Assistant Solicitor General
21   Elizabeth Orem (CO Reg. No. 58309)                     Attorneys for Plaintiff State of Georgia

22   Assistant Attorney General
     Colorado Department of Law
23   Ralph L. Carr Judicial Center
     Consumer Protection Section
24   1300 Broadway, 7th Floor
     Denver, CO 80203
25   Phone: (720) 508-6651
26   bianca.miyata@coag.gov

27   Attorneys for Plaintiff State of Colorado, ex
     rel. Philip J. Weiser, Attorney General
28
                                                       8
                                         States’ Response to Pro Se Motion to Intervene (Case No. 4:22-md-03047)
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 1
     ANNE E. LOPEZ                                          KWAME RAOUL
 2   Attorney General                                       Attorney General
 3   State of Hawai‘i                                       State of Illinois

 4   /s/ Christopher T. Han                                 By: /s/ Hanan Malik
     Bryan C. Yee (HI JD No. 4050),                         Susan Ellis, Chief, Consumer Protection
 5   pro hac vice                                           Division (IL Bar No. 6256460)
     Supervising Deputy Attorney General                    Greg Grzeskiewicz, Chief, Consumer Fraud
 6   Christopher T. Han (HI JD No. 11311),                  Bureau (IL Bar No. 6272322)
 7   pro hac vice                                           Jacob Gilbert, Deputy Chief, Consumer
     Deputy Attorney General                                Fraud Bureau (IL Bar No. 6306019)
 8   Department of the Attorney General                     Daniel Edelstein, Supervising Attorney,
     Commerce and Economic Development                      Consumer Fraud Bureau (IL Bar No.
 9   Division                                               6328692), pro hac vice
     425 Queen Street                                       Adam Sokol, Senior Assistant Attorney
10
     Honolulu, Hawai‘i 96813                                General, Consumer Fraud Bureau (IL Bar
11   Phone: (808) 586-1180                                  No. 6216883)
     Bryan.c.yee@hawaii.gov                                 Hanan Malik, Assistant Attorney General,
12   Christopher.t.han@hawaii.gov                           Consumer Fraud Bureau (IL Bar No.
                                                            6316543), pro hac vice
13   Attorneys for Plaintiff State of Hawai‘i               Emily María Migliore, Assistant Attorney
                                                            General, Consumer Fraud Bureau (IL Bar
14
                                                            No. 6336392)
15                                                          Kevin Whelan, Assistant Attorney General,
                                                            Consumer Fraud Bureau (IL Bar No.
16                                                          6321715), pro hac vice
                                                            Office of the Illinois Attorney General
17                                                          100 W. Randolph Street
                                                            Chicago, Illinois 60601
18
                                                            312-814-2218
19                                                          Susan.Ellis@ilag.gov
                                                            Greg.Grzeskiewicz@ilag.gov
20                                                          Jacob.Gilbert@ilag.gov
                                                            Daniel.Edelstein@ilag.gov
21                                                          Adam.Sokol@ilag.gov
22                                                          Hanan.Malik@ilag.gov
                                                            Emily.Migliore@ilag.gov
23                                                          Kevin.Whelan@ilag.gov

24                                                          Attorneys for Plaintiff the People of the State
                                                            of Illinois
25

26

27

28
                                                       9
                                         States’ Response to Pro Se Motion to Intervene (Case No. 4:22-md-03047)
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 1   THEODORE E. ROKITA                                     DANIEL J. CAMERON
     Attorney General                                       Attorney General
 2   State of Indiana                                       Commonwealth of Kentucky
 3
     /s/ Scott L. Barnhart                                   /s/ J. Christian Lewis
 4   Scott L. Barnhart (IN Atty No. 25474-82),              J. Christian Lewis (KY Bar No. 87109),
     pro hac vice                                           pro hac vice
 5   Chief Counsel and Director of Consumer                 Philip Heleringer (KY Bar No. 96748),
     Protection                                             pro hac vice
 6   Corinne Gilchrist (IN Atty No. 27115-53),              Gregory B. Ladd (KY Bar No. 95886),
 7   pro hac vice                                           pro hac vice
     Section Chief, Consumer Litigation                     Zachary Richards (KY Bar No. 99209),
 8   Mark M. Snodgrass (IN Atty No. 29495-49),              pro hac vice app. forthcoming
     pro hac vice                                           Daniel I. Keiser (KY Bar No. 100264),
 9   Deputy Attorney General                                pro hac vice app. forthcoming
     Office of the Indiana Attorney General                 Assistant Attorneys General
10
     Indiana Government Center South                        1024 Capital Center Drive, Ste. 200
11   302 West Washington St., 5th Floor                     Frankfort, KY 40601
      Indianapolis, IN 46203                                christian.lewis@ky.gov
12   Telephone: (317) 232-6309                              philip.heleringer@ky.gov
     Scott.Barnhart@atg.in.gov                              greg.ladd@ky.gov
13   Corinne.Gilchrist@atg.in.gov                           zach.richards@ky.gov
     Mark.Snodgrass@atg.in.gov                              Phone: (502) 696-5300
14
                                                            Fax: (502) 564-2698
15   Attorneys for Plaintiff State of Indiana
                                                            Attorneys for Plaintiff the Commonwealth of
16                                                          Kentucky
17

18

19

20

21

22

23

24

25

26

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                                                      10
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 1   JEFF LANDRY                                            ANTHONY G. BROWN
     Attorney General                                       Attorney General
 2   State of Louisiana                                     State of Maryland
 3
     /s/ Arham Mughal                                       /s/ Elizabeth J. Stern
 4   Arham Mughal (LA Bar No. 38354),                       Philip D. Ziperman (Maryland CPF No.
     pro hac vice                                           9012190379), pro hac vice
 5   L. Christopher Styron (LA Bar No. 30747),              Deputy Chief, Consumer Protection Division
     pro hac vice                                           Elizabeth J. Stern (Maryland CPF No.
 6   Assistant Attorneys General                            1112090003), pro hac vice
 7   Louisiana Department of Justice                        Assistant Attorney General
     Office of the Attorney General                         Office of the Attorney General of Maryland
 8   Public Protection Division                             200 St. Paul Place
     Consumer Protection Section                            Baltimore, MD 21202
 9   1885 N 3rd Street, 4th Floor                           Phone: (410) 576-6417 (Mr. Ziperman)
     Baton Rouge, LA 70802                                  Phone: (410) 576-7226 (Ms. Stern)
10
     Tel: (225) 326-6438                                    Fax: (410) 576-6566
11   MughalA@ag.louisiana.gov                               pziperman@oag.state.md.us
     StyronL@ag.louisiana.gov                               estern@oag.state.md.us
12
     Attorneys for State of Louisiana                       Attorneys for Plaintiff Office of the Attorney
13                                                          General of Maryland
14
     AARON M. FREY
15   Attorney General                                       DANA NESSEL
     State of Maine                                         Attorney General
16                                                          State of Michigan
     /s/ Michael Devine
17   Michael Devine, Maine Bar No. 5048,                    /s/ Daniel J. Ping
     pro hac vice                                           Daniel J. Ping (P81482), pro hac vice
18
     Laura Lee Barry Wommack, Maine Bar No.                 Assistant Attorney General
19   10110, pro hac vice                                    Michigan Department of Attorney General
     Assistant Attorneys General                            Corporate Oversight Division
20   Office of the Maine Attorney General                   P.O. Box 30736
     6 State House Station                                  Lansing, MI 48909
21   Augusta, ME 04333                                      517-335-7632
22   (207) 626-8800                                         PingD@michigan.gov
     michael.devine@maine.gov
23   lauralee.barrywommack@maine.gov                        Attorneys for Plaintiff State of Michigan

24   Attorneys for Plaintiff State of Maine
25

26

27

28
                                                      11
                                         States’ Response to Pro Se Motion to Intervene (Case No. 4:22-md-03047)
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 1   KEITH ELLISON                                          LETITIA JAMES
     Attorney General                                       Attorney General
 2   State of Minnesota                                     State of New York
 3
     /s/ James Van Buskirk                                  /s/ Christopher D’Angelo
 4   James Van Buskirk (MN Bar No. 0392513),                Christopher D’Angelo, Chief Deputy
     pro hac vice                                           Attorney General, Economic Justice
 5   Assistant Attorney General                             Division (NY Bar No. 4348744),
     Office of the Minnesota Attorney General               pro hac vice
 6   445 Minnesota Street, Suite 1200                       Christopher.D’Angelo@ag.ny.gov
 7   St. Paul, MN 55101-2130                                Clark Russell, Deputy Chief, Bureau of
     Tel: (651) 757-1150                                    Internet and Technology (NY Bar No.
 8   james.vanbuskirk@ag.state.mn.us                        2848323), pro hac vice
                                                            Clark.Russell@ag.ny.gov
 9   Attorney for Plaintiff State of Minnesota, by          Nathaniel Kosslyn, Assistant Attorney
     its Attorney General, Keith Ellison                    General (NY Bar No. 5773676), pro hac vice
10
                                                            app. forthcoming, if required
11                                                          Nathaniel.Kosslyn@ag.ny.gov
     MATTHEW J. PLATKIN                                     New York State Office of the Attorney
12   Attorney General                                       General
     State of New Jersey                                    28 Liberty Street
13                                                          New York, NY 10005
     By: /s/ Kashif T. Chand                                (212) 416-8262
14
     Kashif T. Chand (NJ Bar No. 016752008),
15   pro hac vice                                           Attorneys for Plaintiff the People of the State
     Section Chief, Deputy Attorney General                 of New York
16   Thomas Huynh (NJ Bar No. 200942017),
     pro hac vice
17   Assistant Section Chief, Deputy Attorney
     General
18
     New Jersey Office of the Attorney General,
19   Division of Law
     124 Halsey Street, 5th Floor
20   Newark, NJ 07101
     Tel: (973) 648-2052
21   Kashif.Chand@law.njoag.gov
22   Thomas.Huynh@law.njoag.gov

23   Attorneys for Plaintiffs State of New Jersey
     and the New Jersey Division of Consumer
24   Affairs
25

26

27

28
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 1   JOSHUA H. STEIN                                        DAVE YOST
     Attorney General                                       Attorney General
 2   State of North Carolina                                State of Ohio
 3   /s/ Kevin Anderson
     Kevin Anderson (N.C. Bar No. 22635),                   _/s/ Kevin R.Walsh______
 4   pro hac vice                                           Melissa G. Wright (Ohio Bar No. 0077843)
     Senior Counsel                                         Section Chief, Consumer Protection Section
 5   Sarah G. Boyce                                         Melissa.Wright@ohioago.gov
     Deputy Attorney General & General Counsel              Melissa S. Smith (Ohio Bar No. 0083551)
 6   Jasmine S. McGhee                                      Asst. Section Chief, Consumer Protection
     Senior Deputy Attorney General
 7   Josh Abram                                             Section
     Kunal Choksi                                           Melissa.S.Smith@ohioago.gov
 8   Special Deputy Attorneys General                       Michael S. Ziegler (Ohio Bar No. 0042206)
     Charles G. White                                       Principal Assistant Attorney General
 9   Assistant Attorney General                             Michael.Ziegler@ohioago.gov
     N.C. Department of Justice                             Kevin R. Walsh (Ohio Bar No. 0073999),
10   Post Office Box 629
     Raleigh, North Carolina 27602                          pro hac vice
11   Telephone: (919) 716-6006                              Kevin.Walsh@ohioago.gov
     Facsimile: (919) 716-6050                              Senior Assistant Attorney General
12   kander@ncdoj.gov                                       30 East Broad Street, 14th Floor
                                                            Columbus, Ohio 43215
13   Attorneys for Plaintiff State of North                 Tel: 614-466-1031
     Carolina
14
                                                            Attorneys for State of Ohio, ex rel. Attorney
15                                                          General Dave Yost

16
                                                            MICHELLE A. HENRY
17                                                          Attorney General
                                                            Commonwealth of Pennsylvania
18

19                                                          /s/ Timothy R. Murphy
                                                            Timothy R. Murphy
20                                                          Senior Deputy Attorney General (PA Bar
                                                            No. 321294), pro hac vice
21                                                          Email: tmurphy@attorneygeneral.gov
                                                            Jonathan R. Burns
22                                                          Deputy Attorney General (PA Bar No.
                                                            315206), pro hac vice
23
                                                            Email: jburns@attorneygeneral.gov
24                                                          Pennsylvania Office of Attorney General
                                                            Strawberry Square, 14th Floor
25                                                          Harrisburg, PA 17120
                                                            Tel: 717.787.4530
26
                                                            Attorneys for Plaintiff the Commonwealth of
27                                                          Pennsylvania
28
                                                      13
                                         States’ Response to Pro Se Motion to Intervene (Case No. 4:22-md-03047)
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 1   ALAN WILSON                                             JASON S. MIYARES
     Attorney General                                        Attorney General
 2   State of South Carolina                                 Commonwealth of Virginia
 3
     /s/ Anna C. Smith                                       /s/ Joelle E. Gotwals
 4   C. Havird Jones, Jr.                                    Steven G. Popps
     Senior Assistant Deputy Attorney General                Deputy Attorney General
 5   Jared Q. Libet (S.C. Bar No. 74975),                    Richard S. Schweiker, Jr.
     pro hac vice                                            Senior Assistant Attorney General and
 6   Assistant Deputy Attorney General                       Section Chief
 7   Anna C. Smith (SC Bar No. 104749),                      Joelle E. Gotwals (VSB No. 76779),
     pro hac vice                                            pro hac vice
 8   Assistant Attorney General                              Assistant Attorney General
     Clark C. Kirkland, JR.                                  Office of the Attorney General of Virginia
 9   Assistant Attorney General                              Consumer Protection Section
     Office of the Attorney General of South                 202 N. 9th Street
10
     Carolina                                                Richmond, Virginia 23219
11   P.O. Box 11549                                          Telephone: (804) 786-8789
     Columbia, South Carolina 29211                          Facsimile:      (804) 786-0122
12   Tel: (803) 734-0536                                     E-mail: jgotwals@oag.state.va.us
     annasmith@scag.gov
13                                                           Attorneys for the Plaintiff Commonwealth of
     Attorneys for Plaintiff the State of South              Virginia
14
     Carolina, ex rel. Alan M. Wilson, in His                ex rel. Jason S. Miyares, Attorney General
15   Official Capacity as
     Attorney General of the State of South
16   Carolina                                                ROBERT W. FERGUSON
                                                             Attorney General
17                                                           State of Washington
     MARTY J. JACKLEY
18
     Attorney General                                        /s/ Joseph Kanada
19   State of South Dakota                                   Joseph Kanada (WA Bar No. 55055),
                                                             pro hac vice
20   /s/ Jessica M. LaMie                                    Alexandra Kory (WA Bar No. 49899),
     By: Jessica M. LaMie) (SD Bar No. 4831),                pro hac vice
21   pro hac vice                                            Rabi Lahiri
22   Assistant Attorney General                              Gardner Reed
     1302 East Highway 14, Suite 1                           Alexia Diorio
23   Pierre, SD 57501-8501                                   Assistant Attorneys General
     Telephone: (605) 773-3215                               Washington State Office of the Attorney
24   Jessica.LaMie@state.sd.us                               General
                                                             800 Fifth Avenue, Suite 2000
25   Attorneys for Plaintiff State of South Dakota           Seattle, WA 98104
26                                                           (206) 389-3843
                                                             Joe.Kanada@atg.wa.gov
27
                                                             Attorneys for Plaintiff State of Washington
28
                                                       14
                                          States’ Response to Pro Se Motion to Intervene (Case No. 4:22-md-03047)
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 1   JOSHUA L. KAUL
     Attorney General
 2   State of Wisconsin
 3
     /s/ R. Duane Harlow
 4   R. Duane Harlow
     Assistant Attorney General
 5   WI State Bar #1025622, pro hac vice
     Wisconsin Department of Justice
 6   Post Office Box 7857
 7   Madison, Wisconsin 53707-7857
     (608) 266-2950
 8   harlowrd@doj.state.wi.us

 9   Attorneys for Plaintiff State of Wisconsin
10

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 1                                            ATTESTATION
 2          I hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the concurrence to the filing of

 3   this document has been obtained from each signatory hereto.

 4

 5    DATED: November 15, 2023                        By:     /s/ Marissa Roy
 6                                                             Marissa Roy
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 1                                  CERTIFICATE OF SERVICE
 2

 3          I hereby certify that on November 15, 2023, I electronically filed the foregoing document
 4   with the Clerk of the Court using the CM/ECF system and had the foregoing document served by
 5   mail to Conghua Yan at the address provided, 2140 E Southlake Blvd, Suite L-439, Southlake,
 6   Texas 76092.
 7                                                        By: /s/ Marissa Roy
 8                                                                Marissa Roy
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